






			

								



	





NUMBER 13-08-00040-CR  



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


JAMES HOLT,									Appellant,


v.



THE STATE OF TEXAS,						         Appellee.

                                                                                                                        

On appeal from the 105th District Court 

of Nueces County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Rodriguez and Benavides 


Memorandum Opinion by Justice Rodriguez



	Appellant, James Holt, was indicted for state jail felony possession of cocaine.  See
Tex. Health &amp; Safety Code Ann. § 481.115(a), (b) (Vernon 2003).  On February 10, 2006,
Holt was placed on deferred-adjudication community supervision for a three-year period. 
On December 18, 2007, the trial court revoked Holt's community supervision, adjudicated
him guilty, sentenced him to two years in a state jail facility, and assessed a $3,000 fine. 
By seven issues, Holt contends the following:  (1) his due process rights were violated; (2)
the trial court abused its discretion when it revoked his probation for a violation not
imposed by the court; (3) and the evidence was insufficient to establish three alleged
violations.  We affirm.

I.  Applicable Law and Standard of Review

	In a proceeding to revoke community supervision, the burden of proof is on the
State to show by a preponderance of the evidence that the probationer violated a condition
of probation as alleged in the motion to revoke.  Cobb v. State, 851 S.W.2d 871, 873-74
(Tex. Crim. App. 1993) (en banc); Davila v. State, 173 S.W.3d 195, 197 (Tex.
App.-Corpus Christi 2005, no pet.).  A single violation of a condition of probation is
sufficient to support the trial court's decision to revoke probation.  Moore v. State, 605
S.W.2d 924, 926 (Tex. Crim. App. 1980); Herrera v. State, 951 S.W.2d 197, 199 (Tex.
App.-Corpus Christi 1997, no pet.).  Accordingly, once the appellate court has found one
such violation, it need not address complaints regarding other possible grounds for
revocation.  See Moore, 605 S.W.2d at 926.

	The trial court's decision to revoke is reviewed for an abuse of discretion, such that
the record must simply contain some evidence to support the decision made by the trial
court.  Davila, 173 S.W.3d at 197; Martinez v. State, 6 S.W.3d 674, 680-81 (Tex.
App.-Corpus Christi 1999, no pet.) (providing that appellate review of an order revoking
probation is limited to a determination of whether the trial court abused its discretion).  In
reviewing the legal sufficiency of the evidence to support the revocation, (1) appellate courts
review the evidence in the light most favorable to the judgment, giving deference to the trial
court as the sole trier of facts, the credibility of the witnesses, and the weight to be given
to the evidence presented.  Davila, 173 S.W.3d at 197; Martinez, 6 S.W.3d at 680 (setting
out that the trial court is the sole judge of the credibility of the witnesses and determines
whether the allegations in the motion to revoke are true or not).

II.  Due Process Challenge

	By his first issue, Holt contends the trial court failed to provide a statement, written
or oral, as to the evidence relied on or the reasons for revoking probation; thus, he was
denied due process.  See Gagnon v. Scarpelli, 411 U.S. 778, 786 (1973); Ex parte
Carmona, 185 S.W.3d 492, 495 (Tex. Crim. App. 2006).  We disagree.

	At the December 18, 2007 revocation hearing, the trial court stated that it found that
Holt "violated the conditions of community supervision as alleged in the motion to revoke." 
When Holt's attorney asked for findings of fact concerning the allegations in the motion to
revoke found by the court to be true, the trial court responded, "All of them."  Once the trial
court made this general finding concerning the grounds for revocation, Holt must have
requested further or more specific findings at the time of hearing and did not do so.  See
Rodriquez v. State, 552 S.W.2d 451, 456 (Tex. Crim. App. 1977); see also Martinez v.
State, 488 S.W.2d 132, 133 (Tex. Crim. App. 1972) (explaining that the revocation order
set forth the condition violated and appellant did not request further findings).

	Moreover, in the December 31, 2007 written judgment adjudicating guilt, the trial
court found that "[w]hile on community supervision, Defendant violated the terms and
conditions of community supervision as set out in the State's Original Motion to Adjudicate
Guilt as follows:  See Attached Copy of the Motion to Revoke."  The attached copy of the
motion to revoke included a violation report listing all of the alleged violations with which
Holt was charged, setting out specifically the condition violated and the manner in which
Holt violated it.  See Joseph v. State, 3 S.W.3d 627, 640 (Tex. App.-Houston [14th Dist.]
1999, no pet.) (concluding that the trial court's handwritten notes on an order were
sufficient when the notes indicated the grounds on which the trial court found appellant had
violated the terms of his probation).

	We conclude the trial court complied with the requirement for findings, and Holt was
not denied due process.  We overrule Holt's first issue.

III.  Conditions Not Expressed in the Record

	By his second issue, Holt asserts that the trial court abused its discretion by
revoking his probation for violation of conditions that do not appear in the record. 
Specifically, Holt contends that the provisions requiring him to pay $100 in assessed fees
for the months of September and October 2007, after his release from the Residential
Intensive Treatment Alternative to Incarceration Program Experience (RITE), and to attend
the aftercare program and Alcoholics Anonymous (AA) meetings after his release were not
imposed as conditions of his probation because they were not expressed clearly and
explicitly in the record. (2)  See Rickels v. State, 108 S.W.3d 900, 902 (Tex. Crim. App. 2003)
(en banc).

	The modified conditions of community supervision were not filed with this Court as
part of the original clerk's record.  However, we received a supplemental clerk's record that
included a document titled "Conditions of Community Supervision," last modified on March
28, 2007, and signed on April 18, 2007, by the trial court, Holt, his community supervision
officer, and the district clerk.  In that document, the complained-of conditions were set out.
Therefore, this argument is without merit.  We overrule the second issue.

IV.  Vagueness Challenge

	By his third issue, Holt complains that the probation condition requiring him to
participate in the RITE Aftercare Program was so vague that his rights to due process and
due course of law were violated.  Specifically, Holt complains that the condition requiring
him to participate in the RITE Aftercare Program "beginning upon release" failed to inform
him of what he was to be released from and, thus, did not clearly inform him when his
obligations under this condition were to begin.

	However, complaints regarding conditions of probation that are unreasonable or that
violate constitutional rights or statutory provisions must be timely objected to in order to be
raised on appeal.  See Speth v. State, 6 S.W.3d 530, 534 n.10 (Tex. Crim. App. 1999) (en
banc).  If a defendant has an opportunity to object, he must object to vague or otherwise
improper conditions of probation at the time the conditions are imposed, or, at least, he
must object at the revocation hearing where he is alleged to have violated the condition in
question.  See id.; cf. Kesaria v. State, 189 S.W.3d 279, 280-82 (Tex. Crim. App. 2006)
(concluding that Kesaria had no meaningful opportunity to object to the specific conditions
of his probation and had not waived or failed to preserve his complaint for appellate
review); Rickels, 108 S.W.3d at 901-02 (relieving the defendant of the obligation to object
when he was denied that opportunity, as when the trial court modified the terms of
probation without a hearing).

	In this case, the trial court imposed sanctions and modified the terms of Holt's
probation on April 12, 2007. (3)  The order set out that a hearing was held on March 28,
2007, at which time Holt could have voiced any objection he had to the modification in
question.  Rather than object to the modified terms, Holt signed the modified conditions of
community supervision form on April 18, 2007, verifying that he fully understood all of the
terms and conditions of his community supervision.  Thus, Holt had a meaningful
opportunity to object and did not do so.  See Kesaria, 189 S.W.3d at 281 (discussing
Rickels, 108 S.W.3d at 902).  In addition, at the revocation hearing on December 18, 2007,
Holt did not object to the vagueness of the complained-of condition or assert that he did
not understand when his aftercare obligations began.  See id.  Accordingly, we conclude
Holt did not preserve error.

	Moreover, even had Holt preserved error, we are not persuaded by his vagueness
challenge.  The condition in question, (13-1)(d) requiring participation in the RITE Aftercare
Program, is immediately after condition (13-1)(c) which required Holt to participate in the
RITE Program "for a period of not less than 90 days nor more than 120 days," and to
"remain until released by the Court in writing."  It is clear from the context of the conditions
that the RITE Aftercare Program was to begin upon Holt's release from the RITE Program
itself.  We overrule Holt's third issue.

V.  Single Violation Sufficient to Support Revocation

	Holt does not challenge the sufficiency of the evidence to establish that he violated
the following condition of community supervision:

	(13-1)(d) Participate in the R.I.T.E. AFTERCARE Program for ONE (1) year
beginning upon release, which includes:


	ONE AFTERCARE Relapse Prevention Group per WEEK or as directed and
THREE (3) Alcoholics Anonymous meetings per week or as directed by your
Community Supervision Officer and [to] maintain Sponsor contact;


And, based on our review of the record, we conclude that there is some evidence to
support the trial court's determination that Holt violated this condition of his probation.  See
Davila, 173 S.W.3d at 197.

	Sandra Garza, Holt's community supervision officer, testified that after Holt was
discharged from the RITE program on July 26, he missed nine group meetings including
meetings on August 7, 14, 21, 28, September 11, October 9, 23, 30, and November 6. 
According to Garza, Holt was required to attend AA meetings three times a week and 
failed to provide verification of attendance at those meetings for the weeks of October 29
and November 5.  This evidence supports a finding that Holt violated this condition of his
community supervision.  Because a single violation of a probation condition is sufficient to
support a trial court's decision to revoke community supervision, we conclude that the trial
court did not abuse its discretion when it revoked Holt's community supervision.  See id.;
Martinez, 6 S.W.3d at 680-81.  Having found one such violation, we need not address
Holt's remaining issues four through seven that complain of other possible grounds for
revocation.  See Moore, 605 S.W.2d at 926; Herrera, 951 S.W.2d at 199; see also Tex.
R. App. P. 47.1.

VI.  Conclusion

	We affirm the judgment of the trial court.	

							NELDA V. RODRIGUEZ

							Justice


Do not publish.				

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and 

filed this 25th day of September, 2008.
1. Holt has no right to a factual sufficiency review of a trial court's decision to revoke community
supervision.  Davila v. State, 173 S.W.3d 195, 198 (Tex. App.-Corpus Christi 2005, no pet.).
2. To the extent Holt is asserting vagueness, we address that argument in his third issue.
3. For this second imposition of sanctions, the trial court extended the period of Holt's probation by two
years to expire on February 10, 2011, and placed Holt in the RITE program in the same manner and under
the same conditions as if he had originally been placed in that program.


